 

Case 1:14-cv-00398-JTN ECF No. 19, PagelD.113 Filed 09/10/13 Page 1of5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

PRINCETON DIGITAL IMAGE
CORPORATION,

_ Plaintiff,
ve:
Civil Action No.: 13-512- LPS
ALTICOR GLOBAL HOLDINGS INC.,
QUIXTAR.COM, INC., ALTICOR, INC. and
AMWAY CORP.,

Defendants.

 

 

 

 

MOTION FOR ADMISSION PRO HAC VICE OF CO-COUNSEL
Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission
pro hac vice of Laura Beth Miller, Scott A. Timmerman, and Manish K. Mehta of Brinks Hofer
Gilson & Lione, NBC Tower, Suite 3600, 455 North Cityfront Plaza Drive, Chicago, IL 60611,
to represent Defendants Alticor Global Holdings Inc., Quixtar.com, Inc., and Alticor Ine, fik/a

Amway Corporation, as co-counsel, in this action.

FOX ROTHSCHILD LLP

' : By: _/s/ Gregory B. Williams
i Gregory B. Williams (#4195)
Wali W. Rushdan II (#5796)

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Attorneys for Defendants
Alticor Global Holdings Inc.,
Quixtar.com, Inc., Alticor Inc. f/k/a

: . Amway Corporation
Date: September 0, 2013

 

 

 

 

 
 

 

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
Pursuant to Local Rule 83.5, I certify that (1) I am eligible for admission to this Court;
(2) am admitted, practicing and in good standing as a member of the Bar of the State of Ilinois;
(3) pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any
alleged misconduct which occurs in the preparation or course of this action; and (4) | am
generally familiar with this Court’s Local Rules. |

In accordance with Standing Order for District Court Fund effective 7/23/09, I further °

certify that the annual fee of $25.00 will be submitted to the Clerk’s Office upon the filing of this

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th Miller
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motion.

Date: : /0, 2012

 

 
 

 

 

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

. Pursuant to Local Rule 83.5, I certify that (1) I am eligible for admission to this Court;
(2).am admitted, practicing and in good standing as a member of the Bar of the State of Hlinois;
(3) pursuant to Local Rule 83.6 submit to the disciplinary Jurisdiction of this Court for any
alleged misconduct which occurs in the preparation or course of this action; and (4) I am
generally familiar with this Court’s Local Rules. .

In accordance with Standing Order for District Court Fund effective 7/23/09, I further

certify that the annual fee of $25.00 will be submitted to the Clerk’s Office upon the filing of this

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CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

Pursuant to Local Rule 83.5, I certify that (1) I am eligible for admission to this Court;
(2) am admitted, practicing and in good standing as a member of the Bar of the State of Illinois;
(3) pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any
alleged misconduct which occurs in the preparation or course of this action; and (4) Iam .
generally familiar with this Court’s Loca] Rules. |

In accordance with Standing Order for District Court Fund effective 7/23/09, 1 further
certify that the annual fee of $25.00 will be submitted to the Clerk’s Office upon the he filing of this

motion. ae
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CERTIFICATE OF SERVICE

I, Gregory B. Williams, hereby certify that copies of the attached Motion for Admission

Pro Hac Vice of Co-Counsel were served this day, via CM/ECF, on all counsel of record.

/s/ Gregory B. Williams
Gregory B. Williams (1.D. No. 4195)

Date: September \O , 2013

 

 
